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14                         UNITED STATES DISTRICT COURT
15                        CENTRAL DISTRICT OF CALIFORNIA
                                WESTERN DIVISION
16
17    MACOM TECHNOLOGY                          Case No. CV 16-02859 CAS (PLAx)
      SOLUTIONS HOLDINGS, INC., a
18    Delaware corporation, and                 MACOM’S OPPOSITION TO
      NITRONEX, LLC, a Delaware limited         DEFENDANT AG’S MOTION TO
19    liability company,                        DISMISS
20                      Plaintiffs,
21          v.
22
      INFINEON TECHNOLOGIES AG, a
23    corporation organized under the laws of
      Germany, and INFINEON
24    TECHNOLOGIES AMERICAS
      CORP., a Delaware corporation,
25
                        Defendants.
26
27
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  1                    TABLE OF ABBREVIATIONS AND CONVENTIONS
  2
         ABBREVIATION                              MEANING
  3
  4     AG                   Defendant Infineon Technologies AG

  5     Americas             Defendant Infineon Technologies Americas Corp.
  6     Citation
                             All internal citations are omitted
  7     Convention
  8     Complaint            MACOM’s First Amended Complaint, ECF No. 65
  9     Emphasis
                             All emphasis is added, unless otherwise noted
10      Convention
11      FAC                  MACOM’s First Amended Complaint, ECF No. 65
12
        GaN-on-Si            Gallium Nitride on Silicon—a different and
13                           competing technology to GaN-on-SiC
14      GaN-on-SiC           Gallium Nitride on Silicon Carbide—a different and
15                           competing technology to GaN-on-Si
16      Infineon             Defendant Infineon Technologies AG and Defendant
17                           Infineon Technologies Americas Corp., collectively

18      IR                   International Rectifier—the predecessor to Americas
19      MACOM                Plaintiffs MACOM Technology Solutions Holdings,
20                           Inc. and Nitronex, LLC, collectively, unless the
                             context dictates otherwise
21
        Nitronex             Nitronex Corporation, the predecessor to Nitronex
22
                             LLC, unless the context dictates that Nitronex LLC is
23                           referenced
24      Tessar Decl.         Declaration of Amanda Tessar, submitted
25                           concurrently herewith
26      Quotation
                             All internal quotation marks are omitted
        Convention
27
28

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  1                                      INTRODUCTION
  2         This case arises out of contracts between MACOM and a Central District of
  3   California-based company that Defendant Infineon Technologies AG (“AG”)
  4   recently purchased. AG’s intentional actions in this District have harmed and will
  5   continue to harm MACOM’s vital Networks division, which is led from the Central
  6   District of California. Rather than taking responsibility for its actions and their
  7   effects on MACOM, AG’s motion to dismiss unsuccessfully tries to evade liability
  8   by employing a corporate shell game —albeit one that is brimming with
  9   contradictions that AG cannot (and does not try to) resolve. MACOM’s Complaint
10    contains more than enough allegations in its 245 paragraphs (nineteen of which are
11    devoted specifically to AG jurisdictional allegations) to support jurisdiction over
12    AG on each of its claims. AG’s motion should be denied.
13          In 2015, AG purchased International Rectifier (“IR”) to get access to IR’s
14    “GaN-on-Si” technologies—
15
16
17
18
19                                                  Immediately after the acquisition of IR,
20
21                                                    . When that gambit failed,
22
23
24    This termination, if effective, leaves AG with
25
26         . This result is unconscionable.
27          AG seeks to avoid liability by blaming its California subsidiary, Infineon
28    Technologies Americas Corp. (“Americas”), for the decision to terminate

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  1                         . Specifically, AG submits a conclusory and unsupported
  2   declaration saying that
  3
  4
  5                    . AG’s pervasive direction and control of Americas, as well as its
  6   independent actions in interfering with California contracts, subjects it to
  7   jurisdiction—including because Americas acts as the agent and is the alter ego of
  8   AG and because AG has ratified Americas’ actions.
  9         AG’s motion to dismiss is replete with contradictions and circular logic. For
10    instance, AG simultaneously disavows any agency relationship with Americas,
11    while also arguing that it is privileged to interfere with Americas’ contracts
12    precisely because it has such an agency relationship (which is, in any event, a
13    defense on the merits of the interference claim, not a basis for dismissal). AG also
14    admits that it tried to renegotiate agreements with MACOM, but then denies that it
15    had any authority to be so involved—even though it does not and cannot contest
16    that Americas’ employees made statements at the time that AG employees in
17    Germany did control all decisions with respect to the agreements. Further, AG now
18    conveniently claims that its
19
20    and even though that position cannot be reconciled with AG’s other arguments or
21    its suggestion that                                                                 .
22          In short, AG’s motion should be denied. MACOM has alleged—and AG has
23    admitted—more than enough to establish jurisdiction.
24                                   FACTUAL BACKGROUND
25    A.    The Parties
26          This case arises out of breaches of, and the purported termination of,
27    California contracts.
28

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  3                                       . [Id., Ex. 1, §12.02; Ex. 2, §§10.9, 10.10.]
  4         AG bought IR in 2015 and merged it with a U.S. AG subsidiary to create the
  5   wholly-owned Americas subsidiary. [Dkt. 92-2 ¶¶4-5.] Americas is undisputedly
  6   based just down the road in El Segundo, as IR was. [Dkt. 92-3, ¶2.]
  7         Nitronex acquired by MACOM in 2014. MACOM’s Networks division (the
  8   relevant group here) is led from Newport Beach, California. [Virk Decl., ¶¶3-4.]
  9   B.    The Nitronex/IR Agreements
 10         Since 1999, Nitronex has developed and pioneered the use of gallium nitride
 11   in the design and manufacture of semiconductor chips, focusing specifically on the
 12   use of gallium nitride-on-silicon (“GaN-on-Si”) for RF products. [FAC ¶¶51-63.]
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 23   C.    AG’s Breach Of Contract
 24
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 26                                               . [FAC ¶¶97-98.] Nitronex and
 27   MACOM collectively invested millions of dollars and key personnel in the
 28   development of GaN-on-Si technology. [Id. ¶¶153-154.] MACOM particularly

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  1   focused its efforts on the GaN-on-Si RF cellular base station market. [Id.]
  2           In 2015, AG acquired IR. [Id. ¶109.] Almost immediately, AG began trying
  3   to “renegotiate” the License Agreement
  4
  5           [Id. ¶¶113-115.] When MACOM would not acquiesce to AG’s demands,
  6
  7
  8
  9                                        . 1 [Id. ¶¶124-29.]
 10
 11
 12
 13
 14                                                        . [Id. ¶152.] MACOM
 15   therefore filed this case against AG and Americas, asserting several breach claims
 16   and
 17                                                                                    .
 18   MACOM also brought a tortious interference claim against AG in the alternative.
 19           In July of 2016, upon receipt of confirmation that Infineon was indeed
 20   marketing                                     as suspected, MACOM amended its
 21   complaint to add another breach of contract claim relating to those facts and filed a
 22   motion for preliminary injunction. [Id. ¶¶155-164, 177-87; Dkt. 72-1.]
 23   D.      AG’s Pervasive Direction And Control Of Americas
 24           MACOM’s Complaint sets forth six pages of detailed jurisdictional
 25   allegations as to AG’s direction and control of Americas’ actions with respect to the
 26
 27   1
           Despite the similar names, GaN-on-Si and GaN-on-SiC are very different
           technologies. [FAC, ¶¶39-63; Dkt. 72-3, ¶¶5-18.]
 28

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  1   Nitronex/IR agreements specifically and Infineon’s GaN-on-Si RF power amplifier
  2   business more generally. Since acquiring IR, AG has publicly and consistently
  3   made clear that it controls the former IR, IR’s assets, and the Infineon/IR GaN-on-
  4   Si business more broadly. For instance, AG stated in a press release that IR “has
  5   become part of Infineon.” [Id. ¶22.] AG’s 2015 Annual Report similarly states that
  6   AG “absorbed” IR’s business—and specifically highlights the integration of IR’s
  7   GaN business into AG. [Id. ¶20.] AG also counts IR’s revenues, assets, liabilities,
  8   and in some cases, IR’s employees, as part of AG’s integrated business. [Id. ¶21.]
  9   It appears that the former IR GaN business is now part of a specific AG division
 10   (id. ¶22), highlighting AG’s involvement in and control over the Infineon products
 11   at issue. Further, Americas does not have a separate corporate presence online, but
 12   rather shares a website and products with AG, with a single generic “Infineon”
 13   webpage. This makes it impossible to separate the two entities. [Id. ¶23.] All of
 14   these allegations are set forth in greater detail in MACOM’s Complaint.
 15         Moreover, AG was heavily involved in the attempted renegotiation of the
 16   License Agreement after AG acquired IR. AG employees in Germany were on the
 17   telephone calls related to the agreement—indeed, MACOM often had to schedule
 18   calls to accommodate the time change between the U.S. and Germany. [Id. ¶121;
 19   Tessar Decl. ¶¶6-8.]
 20
 21                          [FAC ¶¶27, 121] To the contrary, the Americas lawyers told
 22   MACOM that AG in Germany was calling the shots, and suggested that MACOM
 23   deal directly with AG. [Tessar Decl. ¶¶2-5, 9.]
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  1   [FAC ¶28.] In short, AG was involved and invested in the Nitronex/IR agreements.
  2         AG has also made clear that the IR patents that are subject to the agreement
  3   are controlled by AG, regardless of who formally holds title. For example, AG
  4   states in its 2015 Annual Report that its patent portfolio includes the patents once
  5   owned by IR. [Id. ¶¶24-25.] AG has also publicly stated elsewhere, such as in a
  6   press release, that it owns the GaN patent portfolio acquired from IR. [Id.] Not
  7   only that, but AG in-house personnel in Germany offered multiple times to come to
  8   the U.S. to meet with MACOM to discuss AG’s allegations that MACOM’s GaN-
  9   on-SiC products supposedly infringed the Nitronex Patents. [Tessar Decl., ¶7.]
 10         Even absent these many uncontroverted facts, the timeline alone is telling.
 11   Right after AG acquired IR, Infineon started threatening MACOM’s supplier with
 12   the Nitronex Patents and, in parallel,
 13                    [Id. ¶¶113-129.] When those efforts failed, it accused MACOM’s
 14   GaN-on-SiC products of infringement and tried to terminate the License
 15   Agreement. [Id. ¶¶141-150; Tessar Decl. ¶7.] AG then announced that it was
 16   developing GaN-on-Si products                                   . [Id. ¶¶155-164.]
 17   There can be little doubt as to the connection between these events.
 18                                     LEGAL STANDARD
 19   A.    Motion To Dismiss For Lack Of Personal Jurisdiction
 20         Where, as here, a court decides a motion to dismiss for lack of personal
 21   jurisdiction under Rule 12(b)(2) without an evidentiary hearing, the plaintiff need
 22   only make a prima facie showing of jurisdictional facts for the motion to be denied.
 23   Herring Networks, Inc. v. AT&T Servs., Inc., No. 216-cv-1636, 2016 WL 4055636,
 24   at *3 (C.D. Cal. July 25, 2016); Doe v. Unocal Corp., 27 F. Supp. 2d 1174, 1181
 25   (C.D. Cal. 1998), aff’d, 248 F.3d 915 (9th Cir. 2001). “[I]t is well established that
 26   where the district court relies solely on affidavits and discovery materials, the
 27   plaintiff need only establish a prima facie case of jurisdiction.” Bou-Matic, L.L.C.
 28   v. Ollimac Dairy, Inc., No. 1:05-CV-0203 OWW SMS, 2006 WL 658602, at *1

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  1   (E.D. Cal. Mar. 15, 2006). Moreover, Plaintiff’s version of the facts is taken as true
  2   for purposes of the motion if and to the extent not directly controverted. Herring,
  3   2016 WL 4055636, at *3. Importantly, any declarations submitted to contravene
  4   the facts alleged in a complaint must comply with the rules of evidence or they are
  5   ineffective. E.g., Sapp v. F.D.I.C., 876 F. Supp. 249, 251 (D. Kan. 1995)
  6   (“[A]ffidavits … opposing motions to dismiss for lack of jurisdiction must … be
  7   based on personal knowledge, set forth such facts as would be admissible into
  8   evidence, and show affirmatively that the affiant is competent to testify ….”).
  9          Generally, personal jurisdiction exists if (1) it is permitted by the forum
 10   state’s long-arm statute and (2) the exercise of that jurisdiction does not violate
 11   federal due process. Herring, 2016 WL 4055636, at *3. 3 Depending on the nature
 12   of the contacts between the defendant and the forum state, personal jurisdiction is
 13   characterized as either general or specific. Id. at *3.
 14          General jurisdiction exists if a defendant’s forum activities are “substantial”
 15   or “continuous and systematic,” even if the claim is unrelated to those activities. Id.
 16   “Factors to be taken into consideration are whether the defendant makes sales,
 17   solicits or engages in business in the state, serves the state’s markets, designates an
 18   agent for service of process, holds a license, or is incorporated there.” Id.
 19          A court may also have specific jurisdiction over a claim that arises out of a
 20   defendant’s forum-related activities. Id. at *4. The test for specific personal
 21   jurisdiction requires: (1) the non-resident defendant must purposefully direct his
 22   activities toward (or purposefully avail itself of) the forum; (2) the claim must arise
 23   out of or relate to the defendant’s forum-related activities; and (3) the exercise of
 24   jurisdiction must be reasonable. Id. at *4. The plaintiff bears the burden on the
 25   first two prongs, and then the defendant has the burden to “present a compelling
 26
      3
          California’s long-arm statute is coextensive with federal due process
 27       requirements, so the jurisdictional analysis under state and federal law collapse.
          Cal. Civ. Proc. § 410.10; Roth v. Marquez, 942 F.2d 617, 620 (9th Cir. 1991).
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  1   case” that the third prong, reasonableness, is not satisfied. Id.
  2          Both general and specific jurisdiction may be found for a parent company
  3   when a subsidiary subject to general jurisdiction is found to be the alter ego of the
  4   parent. Ranza v. Nike, Inc., 793 F.3d 1059, 1071 (9th Cir. 2015). Additionally,
  5   specific jurisdiction may be found over a parent when the subsidiary acts as the
  6   parent’s agent in activities that gave rise to the lawsuit or if the parent later ratifies
  7   the subsidiary’s actions. Daimler AG v. Bauman, 134 S. Ct. 746, 759 n13 (2014).
  8   B.     Motion To Dismiss For Failure To State A Claim
  9          Under Rule 12(b)(6), a district court may dismiss a claim only if “there is a
 10   lack of a cognizable legal theory or the absence of sufficient facts alleged under a
 11   cognizable legal theory.” Herring, 2016 WL 4055636 at *4. Factual allegations
 12   need only be enough to raise a right to relief “above the speculative level.” Bell Atl.
 13   Corp. v. Twombly, 550 U.S. 544, 555 (2007). In considering a Rule 12(b)(6)
 14   motion, a court must accept as true all pleaded material allegations, as well as all
 15   reasonable inferences drawn from them. Herring, 2016 WL 4055636, at *4. The
 16   complaint must also be read in the light most favorable to the plaintiff. See id.
 17   C.     Motion To Dismiss For Lack Of Subject Matter Jurisdiction
 18          For a complaint to survive a motion to dismiss for lack of subject matter
 19   jurisdiction under Federal Rule of Civil Procedure 12(b)(1), the plaintiff need only
 20   show that it “has alleged a claim under federal law and that the claim is not
 21   frivolous” where the jurisdiction is premised on a federal question. Korsunka v.
 22   Johnson, No. 2:13-cv-7010, 2014 WL 1716086, at *2 (C.D. Cal. Apr. 30, 2014).
 23                                      II.    ARGUMENT
 24   A.     The Court Has Personal Jurisdiction Over AG
 25          This Court has specific personal jurisdiction over AG because AG has itself
 26   conducted business in California through its activities as alleged in the Complaint,
 27   including through its interference with California contracts. Additionally, this
 28   Court has personal jurisdiction over AG because of AG’s treatment of its wholly-

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  1   owned subsidiary Americas as its agent (i.e., specific jurisdiction) and alter ego
  2   (i.e., specific and general jurisdiction), and because it has ratified Americas’ actions
  3   that gave rise to MACOM’s claims (i.e., specific jurisdiction).
  4          1.   The Court Has Specific Jurisdiction Over AG
  5                a. AG Purposefully Directed Activities At And/Or Purposefully
                      Availed Itself Of This District
  6
             MACOM has alleged numerous intentional acts by AG aimed at California
  7
      that satisfy the first prong of the specific jurisdiction test, which requires
  8
      “purposeful direction at” or “purposeful availment of” the forum. The “purposeful
  9
      availment analysis is most often used in suits sounding in contract, whereas the
 10
      purposeful direction analysis ... is most often used in suits sounding in tort.”
 11
      Herring, 2016 WL 4055636 at *5. Here, some of MACOM’s claims sound in
 12
      contract and some in tort. Therefore, both tests apply—and both are satisfied.4
 13
             AG attempted to renegotiate the Nitronex/IR Agreements, which are
 14
      California contracts with California choice of law and venue provisions. [Id.
 15
      ¶¶113-123.] These negotiations involved multiple communications between AG,
 16
      its California subsidiary (Americas), and MACOM. [Tessar Decl. ¶¶5-9.]
 17
 18
                             [FAC ¶123.]
 19
             “Contract negotiations are classic examples of the sort of contact that can
 20
      give rise to in personam jurisdiction.” Peterson v. Highland Music, Inc., 140 F.3d
 21
      1313, 1320 (9th Cir. 1998) (affirming personal jurisdiction finding); see McGee v.
 22
      Int’l Life Ins. Co., 355 U.S. 220, 223 (1957) (“It is sufficient for purposes of due
 23
 24   4
          Purposeful direction requires application of the Supreme Court’s “effects” test.
 25       Calder v. Jones, 465 U.S. 783 (1984); Herring, 2016 WL 4055636, at *6. This
          test requires “the defendant allegedly must have (1) committed an intentional
 26       act, (2) expressly aimed at the forum state, (3) causing harm that the defendant
          knows is likely to be suffered in the forum state.” Id. “Purposeful availment
 27       requires that the defendant performed some type of affirmative conduct which
          allows or promotes the transaction of business within the forum state.” Id. at *8.
 28

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  1   process that the suit was based on a contract which had substantial connection with
  2   that State.”).
  3
  4          —it was not a “one time” deal.5 [FAC ¶123.] See Longyu Int’l Inc. v. E-Lot
  5   Elecs. Recycling Inc., No. 2:13-CV-7086, 2014 WL 1682811, at *4 (C.D. Cal. Apr.
  6   29, 2014) (citing case distinguishing contacts with forum states arising out of
  7   “multiple transactions” from contacts that involve only “single shot deals”).
  8          MACOM also alleged facts showing that AG caused harm that it knew was
  9   likely to be suffered in California. The contracts relevant here are California
 10   contracts. [FAC, Ex. 1, §12.02; Ex. 2, §§10.9, 10.10.] One of the parties to the
 11   contracts is a California company and the other party has multiple offices in this
 12   district, including the office from which the division relevant here is led. [Dkt. 92-3
 13   ¶2, Virk Decl. ¶¶4-5.] AG should have known (and does know) that any harm it
 14   caused would have an effect in California, among other places. Herring, 2016 WL
 15   4055636, at *8 (allegations that parent authorized actions in California sufficient to
 16   establish that parent was aware resulting harm would be felt here). Infineon
 17   nonetheless announced its development of GaN-on-Si products
 18                    right after the license was terminated, causing harm to MACOM in
 19   California and supporting that it purposefully availed itself of this District.
 20          AG also purposefully availed itself of, and purposefully directed its actions
 21   toward, this District because it instructed and authorized its agent, Americas, to take
 22   the actions underlying MACOM’s Complaint. Herring, 2016 WL 4055636, at *8
 23   (authorizations and instructions to take actions related to California company
 24   constituted both purposeful availment and purposeful direction); HealthMarkets,
 25   Inc. v. Superior Ct., 171 Cal. App. 4th 1160, 1170 (Cal. Ct. App. 2009) (jurisdiction
 26
      5
          There is also nothing that MACOM “obfuscated” about the facts
 27                                        . Mot. at 11 n. 4 & 5. AG cannot hide that it
          had discussions and negotiations with MACOM.
 28

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  1   may be appropriate over a parent company where it “has purposefully directed its
  2   activities at the forum state by causing a separate person or entity to engage in
  3   forum contacts”). MACOM’s Complaint contains many allegations that Infineon
  4   directed, controlled, and/or authorized Americas to take actions relevant to
  5   MACOM’s claims. [FAC ¶¶18-37.] For example, MACOM alleges that AG made,
  6   directed, and/or controlled “the decisions to (a) wrongfully and pretextually
  7   terminate the 2010 License Agreement; (b) develop and market (or to continue
  8   developing and marketing) GaN-on-Si RF products
  9
 10
 11                                                                        .” [Id. ¶29.] And
 12   of course, the Court has jurisdiction over AG on MACOM’s interference claim
 13   because AG interfered with a California contract. Harris Rutsky & Co. Ins. Servs.
 14   v. Bell & Clements Ltd., 328 F.3d 1122, 1131 (9th Cir. 2003) (jurisdiction found
 15   where defendant interfered with contract involving California resident). AG is
 16   therefore subject to personal jurisdiction.
 17         In evaluating whether a party purposefully availed itself or purposefully
 18   directed itself at the state of California, it is important to note that physical presence
 19   is not required to establish jurisdiction. Jurisdiction cannot be avoided “merely
 20   because the defendant did not physically enter the forum State … it is an
 21   inescapable fact of modern commercial life that a substantial amount of business is
 22   transacted solely by mail and wire communications across state lines, thus
 23   obviating the need for physical presence within a State ….” Burger King Corp. v.
 24   Rudzewicz, 471 U.S. 462, 476 (1985) (emphasis in original); Marmis v. Sunbelt
 25   Sav. Ass’n of Texas, 889 F.2d 1095 (9th Cir. 1989) (table) (unpublished) (phone
 26   and mail communications establishing an entity in California were sufficient to
 27   establish jurisdiction). In short, AG cannot avoid a conclusion that it purposefully
 28   availed itself of this forum by pointing to its physical location in Germany.

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                   b.   MACOM’s Claims Arise Out Of Or Relate To AG’s Conduct
  1                     In This District
  2         Under the second prong of the specific personal jurisdiction test, the Court
  3   must consider whether MACOM’s claims “arise out of or relate to [AG’s] forum-
  4   related contact.” Herring, 2016 WL 4055636, at *9. The Ninth Circuit has said
  5   that this prong requires a “but for” analysis. In re W. States Wholesale Nat. Gas
  6   Antitrust Litig., 715 F.3d 716, 742 (9th Cir. 2013). In other words, “a lawsuit arises
  7   out of a defendant’s contacts with the forum state if a direct nexus exists between
  8   those contacts and the cause of action.” Id.
  9         There is precisely such a direct nexus here. MACOM’s claims all arise out
 10   of or are related to California contracts at issue in this case and AG’s attempted
 11   renegotiations, wrongful breach, attempted termination of that contract (or direction
 12   to its California subsidiary to terminate that contract), and its current GaN-on-Si
 13   product development and marketing activities. “But for” AG’s involvement with
 14   the contracts, its attempts (and/or instructions) to terminate the license, and its
 15   product marketing and sales activities, MACOM’s claims would not exist. This
 16   includes even MACOM’s noninfringement declaratory judgment claim, since it is
 17   the purported termination of the License Agreement that puts MACOM under cloud
 18   of an infringement suit. MACOM’s claims thus arise out of AG’s conduct in
 19   California. Fireman’s Fund Ins. Co. v. Nat’l Bank of Coops., 103 F.3d 888, 894
 20   (9th Cir. 1996) (“Absent Aldus's California-related activities, the insurers would
 21   have no reason to pursue declaratory relief.”).
 22                c.   It Is Reasonable To Subject AG To Jurisdiction
 23         AG has the burden to show that “litigation in California has been or would be
 24   so gravely difficult and inconvenient as to render the court’s exercise of personal
 25   jurisdiction unreasonable.” Fireman’s Fund, 103 F.3d at 895; Herring, 2016 WL
 26   4055636, at *9 (defendant has burden to present “compelling case that the exercise
 27   of jurisdiction would not be reasonable”). AG presented no argument on this
 28   prong—and it is now too late for it to do so. The exercise of jurisdiction here

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  1   (where AG bought a California company, attempted to renegotiate its California
  2   contracts, and then terminated and breached them in a way that caused injury in
  3   California) is reasonable. AG has not met its burden, and this factor is met anyway.
  4          2.     The Court Also Has Personal Jurisdiction Over AG Under
                    Theories of Agency, Alter Ego, and Ratification
  5
             Neither AG nor Americas disputes that Americas is subject to personal
  6
      jurisdiction, both general and specific, nor could it. Americas has its principal
  7
      place of business in this District, conducts business here, and is a party to the
  8
      contract arising under California law that is at issue in this case. [See Dkt. 92-3 ¶2.]
  9
      Americas therefore satisfies the test for both general jurisdiction (as it is certainly at
 10
      home with continuous and systematic contacts in this District) and specific
 11
      jurisdiction. Herring, 2016 WL 4055636, at *4.
 12
             When a subsidiary acts as the agent of its parent, the subsidiary’s contacts are
 13
      imputed to the parent and lead to specific jurisdiction over the parent. Herring,
 14
      2016 WL 4055636, at *7 n4. Further, where the subsidiary acts as the alter ego of
 15
      its parent, either general or specific jurisdiction can be found. In re Hydroxycut
 16
      Mktg. & Sales Practices Litig., 810 F. Supp. 2d 1100, 1124 (S.D. Cal. 2011)
 17
      (because plaintiff made a prima facie showing of alter ego, subsidiary’s contacts
 18
      could be imputed to parent for jurisdiction). Finally, in the situation where the
 19
      parent corporation knowingly accepts the subsidiary’s actions after the fact, specific
 20
      jurisdiction is found under the theory of ratification. Bowoto, 312 F. Supp. 2d at
 21
      1235; see also Herring, 2016 WL 4055636, at *7 n4.
 22
             Here, Americas is both the agent and alter ego of AG. At a minimum, AG
 23
      has ratified Americas’ actions through the conduct described in the Complaint.
 24
      Accordingly, personal jurisdiction over AG is proper for these reasons as well. 6
 25
      6
 26       Notably, if this Court were to find personal jurisdiction over AG here under an
          alter ego or agency theory, it would not be the first California court to disregard
 27       corporate formalities for the Infineon family of companies. At least one
          California court has done exactly that for AG and Americas’ predecessor,
 28

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                   a.   AG Is Subject To Specific Personal Jurisdiction Under
  1                     Agency Principles
  2          In determining whether a subsidiary acts as an agent of its parent, courts
  3   typically consider whether the parent’s control of the subsidiary is so pervasive that
  4   the subsidiary can fairly be deemed a means through which the parent acts or an
  5   incorporated division of the parent. Hydroxycut, 810 F. Supp. 2d at 1115. “[A]
  6   subsidiary is deemed to be acting as the agent of the parent if the subsidiary
  7   engages in activities that, but for the existence of the subsidiary, the parent would
  8   have to undertake itself.” Id. at 1116.
  9          AG incorrectly argues that an agency theory cannot be used to establish
 10   personal jurisdiction for a parent corporation, citing Daimler, 134 S. Ct. at 759-60,
 11   and Ranza, 793 F.3d at 1071. That is incorrect. Instead, both Daimler and Ranza
 12   hold that an agency theory is no longer a valid way to establish general jurisdiction.
 13   But, as Daimler expressly notes, agency remains a valid way to establish specific
 14   jurisdiction. 7 Daimler, 134 S. Ct. at 759 n13 (“Agency relationships ... may be
 15   relevant to the existence of specific jurisdiction … As such, a corporation can
 16   purposefully avail itself of a forum by directing its agents or distributors to take
 17   action there.”); accord Herring, 2016 WL 4055636, at *7 n4.
 18          Here, there is little question that Americas is an agent of AG. AG’s public
 19   presence, statements, and conduct in dealings with MACOM all show AG’s
 20   pervasive direction and control over Americas’ day-to-day activities. AG is and has
 21   held itself out to the world as the new owner of IR, its patents, and its GaN-on-Si
 22   products. [FAC ¶¶20-25.] It merged Americas’ product lines into an AG business
 23   division, attempted to renegotiate IR’s contracts with MACOM, threatened to sell
 24
 25       Infineon North America. Choice-Intersil Microsystems, Inc. v. Agere Sys., Inc.,
          224 F.R.D. 471, 472 (N.D. Cal. 2004) (Infineon NA must produce AG
 26       documents).
      7
          AG presents no argument as to why there is not specific jurisdiction here
 27       through an agency theory, addressing only general jurisdiction through that
          theory. AG cannot remedy this omission in its reply brief.
 28

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  1   certain Nitronex Patents, led the charge in accusing MACOM’s GaN-on-SiC
  2   products of infringing the Nitronex Patents, and has begun marketing GaN-on-Si
  3   products                                 . [Id.; Tessar Decl. ¶¶5, 7.] Immediately
  4   after acquiring IR—with timing that cannot be coincidental—“IR” sent threatening
  5   letters to MACOM and its supplier. [FAC ¶¶113-29.] Moreover, AG’s Americas
  6   entity (formed out of the old IR) has no separate website, products, or identity from
  7   AG. [Id. ¶23.] Americas’ very purpose is to sell “Infineon” products and operate
  8   as the U.S. arm of AG. [See id. ¶¶23, 30.] It is undertaking activities that AG
  9   would otherwise undertake itself, were Americas not to exist. [Id.] Americas is
 10   thus an agent of AG, and Americas’ actions may be attributed to AG to establish
 11   specific personal jurisdiction. Herring, 2016 WL 4055636, at *7 n4. MACOM has
 12   clearly established a prima facie case of jurisdiction over AG based on agency.
 13                b.   Personal Jurisdiction Also Exists Because AG And Americas
 14                     Are Alter Egos
             AG is also subject to jurisdiction because Americas is its alter ego. It is
 15
      undisputed that Americas is subject to personal jurisdiction here. If a parent’s alter
 16
      ego subsidiary is subject to jurisdiction, the parent is subject to jurisdiction too.
 17
      Kayne v. Ho, No. 09-cv-6816, 2010 WL 4794824, at *9 (C.D. Cal. Nov. 15, 2010).
 18
      This means AG is subject to general and specific jurisdiction. Weaver v. J&J, No.
 19
      16-cv-257, 2016 WL 1668749, at *3 n.3 (S.D. Cal. Apr. 27, 2016) (“The Supreme
 20
      Court left intact ‘imputed’ general jurisdiction based on the alter ego test.”). 8
 21
             To show alter ego, a plaintiff must allege “(1) such a unity of interest in
 22
      ownership exists so as to dissolve the separate corporate personalities of the parent
 23
 24   8
          AG’s argument that Daimler precludes a finding of jurisdiction even in the
 25       presence of an alter ego determination should be rejected. Mot. at 10 n.3. In
          Daimler, the subsidiary was not incorporated in California, nor did it have its
 26       principal place of business here, so the Court found that even attributing the
          subsidiary’s contacts to the parent did not render the parent “at home” in the
 27       district. Daimler, 134 S. Ct. at 761-62. That is not the case here, where
          Americas is headquartered in El Segundo, California. [Dkt. 92-3 ¶2.]
 28

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  1   and the subsidiary, relegating the latter to the status of merely an instrumentality,
  2   agency, conduit or adjunct of the former, and (2) an inequitable result will occur if
  3   the conduct is treated as that of the subsidiary alone.” Bleu Prod., Inc. v. Bureau
  4   Veritas, No. 08-cv-2591, 2009 WL 649061, at *5 (C.D. Cal. Mar. 9, 2009).
  5   MACOM’s Complaint alleges facts that support both elements.
  6                  (i) AG And Americas Have Unity Of Interest
  7         There are numerous facts alleged in the Complaint demonstrating unity of
  8   interest between Americas and AG. Relevant factors courts have found important
  9   to the unity of interest analysis include, for example: (1) commingling of assets; (2)
 10   a parent’s treatment of a subsidiary’s corporate assets as its own; (3) holding out by
 11   the parent that it is personally liable for subsidiary’s debts; (4) employment of the
 12   same employees or attorneys; and (5) use of a corporation as a mere shell for the
 13   business of an individual or other entity. Stewart v. Screen Gems-EMI Music, Inc.,
 14   81 F. Supp. 3d 938, 961 (N.D. Cal. 2015).
 15         As set forth in MACOM’s Complaint, AG meets many of these factors.
 16   First, even without discovery, MACOM has alleged specific facts that demonstrate
 17   (1) comingling of assets, (2) treatment of Americas’ assets as assets of AG, and (3)
 18   holding out by AG that it is responsible for Americas’ debts. MACOM’s
 19   Complaint alleges, for instance, that AG represented in its 2015 Annual Report that
 20   IR’s (now Americas’) revenue, assets, and liabilities are integrated and part of AG.
 21   [FAC ¶21.] Similarly, AG has held itself out to the public as owning the Nitronex
 22   Patents. [Id. ¶¶24-25.] MACOM has also alleged sharing of employees—namely,
 23   that AG has counted IR’s (now Americas’) employees as its own. [Id. ¶21.]
 24
 25                                       , although that point is contested by MACOM
 26   (see supra §A3). Finally, MACOM has alleged facts showing that Americas is a
 27   shell or conduit for AG’s business. [Id. ¶¶ 18-37.] Indeed, in the very declarations
 28   submitted for its motions to dismiss, Infineon is unable to separate the two entities,

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  1   and each purports to testify for the other. [See Dkt. 92-2 ¶8 (AG testifying about
  2   Americas’ contracts); Dkt. 92-3 ¶3 (Americas testifying about acquisition by AG).]
  3         Thus, this is far from a case where there are no specific factual allegations to
  4   support an alter ego claim. AG repeatedly accuses MACOM’s Complaint of being
  5   “conclusory,” but that contention cannot be reconciled with the actual language of
  6   the Complaint, which is more than sufficient to support jurisdiction.
  7                  (ii) Inequitable Results Will Occur Absent An Alter Ego Finding
  8         MACOM’s Complaint contains numerous allegations about the injustice that
  9   would result if AG is not held accountable. [E.g., FAC ¶¶31-34.] AG purchased IR
 10   with the specific goal of accessing the Nitronex Patents and IR’s (i.e., Nitronex’s
 11   technical knowledge. [Id. ¶¶20, 25.] AG then attempted to renegotiate IR’s
 12   contracts, presenting itself as having the authority to do so and
 13                                                         . [Id. ¶¶33, 121-123.] When
 14   negotiations failed, AG terminated MACOM’s license and began marketing
 15   products in                             . [Id. ¶¶141-149, 155-164.] It would be the
 16   wrong result if AG—in these circumstances—is permitted through dismissal here to
 17   both hide behind a corporate shell when it comes to liability, but
 18
 19                                                                . [Id. ¶¶32, 152-54.]
 20   The risk of injustice is particularly acute since AG is simultaneously claiming it
 21   cannot be held liable as a third party for interfering with the contracts here.
 22                 c.   AG Is Subject To Specific Personal Jurisdiction Because It
                         Has Ratified Americas’ Actions
 23
            AG is also subject to specific jurisdiction because it has ratified Americas’
 24
      actions. Ratification occurs when the parent knowingly accepts a subsidiary’s
 25
      actions after the fact. Bowoto, 312 F. Supp. 2d at 1235; see also Herring, 2016 WL
 26
      4055636, at *7 n4. “A purported agent’s act may be adopted expressly or ... by
 27
      implication based on conduct of the purported principal from which an intention to
 28

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  1   consent or adopt the act may be fairly inferred.” Bowoto, 312 F.Supp. 2d at 1235;
  2   Bangkok Broad. & T.V. Co. v. IPTV Corp., 742 F. Supp. 2d 1101, 1120 (C.D. Cal.
  3   2010) (parent may be liable where it “aids, abets or ratifies the acts of the
  4   subsidiary corporation”). These cases make clear that the critical question is
  5   whether the parent ratified the conduct that gave rise to the claims, not whether the
  6   parent ratified an underlying contract itself (see Bangkok, 742 F. Supp. 2d at 1101
  7   (discussing parent ratification of subsidiary’s actions giving rise to infringement
  8   claim))—a point AG mixes up in its argument (Mot. at 14-15 & n6).
  9           Even if the Court finds that MACOM has not sufficiently alleged that AG
 10   directed and/or controlled Americas such that agency or alter ego theories of
 11   jurisdiction apply, MACOM has certainly alleged undisputed facts sufficient to
 12   support ratification jurisdiction. For instance, MACOM has alleged that AG touted
 13   its expansion of its GaN-on-Si patent portfolio through its acquisition of IR (i.e.,
 14   through the Nitronex Patents), then participated in discussions with Americas and
 15   MACOM about modification of the terms of those agreements. [FAC ¶¶18-37.]9
 16
 17               . 10 [Id. ¶28.] Then, after the license was purportedly terminated
 18   (supposedly by Americas alone, despite AG’s involvement in the discussions
 19   regarding the supposed infringement of MACOM’s GaN-on-SiC products), AG
 20   publicly disclosed its intent to sell GaN-on-Si products in MACOM’s field (id.
 21   ¶155-
 22
 23   9

 24                                                                                 ed the
 25      agreements with AG, also showing that AG is involved with accomplishing the
         purpose of the agreements (i.e., a ratification).
      10
 26      See Data Disc, Inc. v. Sys. Tech. Associates, Inc., 557 F.2d 1280, 1287-88 (9th
         Cir. 1977) (“[T]he activities of the STA employees in California, although
 27      subsequent to formation of the contract, were meant to facilitate Data Disc's
         completion of the contract and were beneficial to STA.”).
 28

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  1                                              . These facts show that AG ratified and
  2   approved the actions taken by Americas (supposedly alone) under the contracts.
  3           3.    AG’s Declarations Do Not Save It From A Finding That This
                    Court Has Personal Jurisdiction Over It
  4
              Even ignoring the gross evidentiary defects in the jurisdictional declarations
  5
      submitted with AG’s motion to dismiss, discussed below, AG’s declarations are
  6
      insufficient to controvert MACOM’s jurisdictional allegations. Preliminarily, the
  7
      declarations are striking for what they do not deny. For instance, although AG
  8
      submits declarations from both Americas and AG personnel (albeit not from anyone
  9
      who participated in AG’s discussions with MACOM), AG does not deny that:
 10
              • AG personnel participated by in attempts to renegotiate the parties’
 11             California contracts and discussions about termination.
 12           • AG in-house attorneys who participated on calls with MACOM about the
                Nitronex/IR agreements never said that they were representing Americas.
 13
              • Americas’ in-house attorneys told MACOM that AG in Germany was
 14             controlling decisions with respect to the Nitronex/IR agreements.
 15           • Americas offers the same products as AG and shares a website with AG. 11
 16           • AG has represented to the public that it owns rights to IR’s GaN patents.
 17           • AG has represented to the public that it is liable for IR/Americas’ debts.
 18           •
 19
              • AG controls the GaN business of Americas and other Infineon affiliates.
 20
              • AG personnel led phone discussions about MACOM’s GaN-on-SiC
 21             products’ alleged infringement of the Nitronex Patents and offered to
 22             meet with MACOM in the U.S. about those claims.
              • AG announced the launch of Infineon-branded GaN-on-Si RF products
 23                                      immediately after the purported termination of
 24
      11
 25        AG argues that MACOM has not proven that it does not observe corporate
           formalities, but MACOM has certainly alleged sufficient facts on this point,
 26        which is all that it is required to do at this stage—particularly when AG has not
           submitted any declaration saying that it does so. The best that AG does is a
 27        financial person’s declaration saying with no explanation, background, or detail
           that AG “abides by the arms-length principle,” whatever that means.
 28

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                the License Agreement.
  1
      Importantly, MACOM’s allegations on all of these points must be taken as true,
  2
      since Infineon’s declarations do not controvert them. Rio, 284 F.3d at 1019
  3
      (“[U]ncontroverted allegations in RIO's complaint must be taken as true….”).
  4
            Infineon’s declarations only state—in conclusory fashion—
  5
  6
                                                                    [ECF No. 92-3 ¶¶7-8;
  7
      ECF No. 92-2 ¶11.] Setting aside that this new twist reinforces MACOM’s alter
  8
      ego and agency allegations, AG’s only evidence of this supposed “representation”
  9
      is a declaration from a layperson who provides no evidentiary foundation for his
 10
      testimony whatsoever, participated in none of the calls, does not appear to routinely
 11
      supervise legal matters, and who announces his legal opinion in the most
 12
      conclusory and unsupported manner possible. [Dkt. 92-3 ¶8.] AG fails to include
 13
      any facts or evidence that support or substantiate its declarant’s testimony (e.g.,
 14
      whether an engagement letter exists,
 15
 16
                                                                . And in any case, an agent
 17
      is still subject to personal jurisdiction where the agent is a “‘primary participant’ in
 18
      the alleged wrongdoing” or “had ‘control of, and direct participation in the alleged
 19
      activities.’” Allstar Mktg. Grp., LLC v. Your Store Online, LLC, 666 F. Supp. 2d
 20
      1109, 1120 (C.D. Cal. 2009) (collecting cases).
 21
            AG’s declarations admit, with their carefully-parsed language, more than
 22
      they deny. For instance, Mr. LeFort says that
 23
                                                                                ” but he
 24
      makes no representation that AG did not direct or provide input to those “
 25
             . [ECF 92-3 ¶8.] Similarly, Mr. Pelzer—a non-lawyer CFO—simply
 26
      announces that AG “is not a party to either of the two [2010] agreements and is not
 27
      a successor to [IR] with respect to the two agreements. [ECF 92-2 ¶9.] Mr. Pelzer
 28

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  1   and AG have provided no reason for this Court to replace its judgment on such
  2   legal issues with AG’s. See, e.g., Tri-Valley Cares v. Dep’t of Energy, 203 F.
  3   App’x 105, 108 (9th Cir. 2006) (affirming exclusion of declarations containing
  4   impermissible legal conclusions and opinions from lay-witness).
  5         Likewise, to the extent that the declarations contain conclusory statements
  6   that AG did not “direct or control” Americas, these statements should be rejected as
  7   lacking foundation, containing hearsay, and containing improper legal conclusions.
  8   Sapp, 876 F. Supp. at 251 (“[A]ffidavits in support of or opposing motions to
  9   dismiss for lack of jurisdiction must comply with the requirements of Fed.R.Civ.P.
 10   56(e), i.e., they must be based on personal knowledge, set forth such facts as would
 11   be admissible into evidence, and show affirmatively that the affiant is competent to
 12   testify ….”). Declarations that are limited to the witness’s “knowledge,” without
 13   any explanation of whether or how the witness has any real knowledge, are
 14   similarly meaningless. [ECF 92-2 ¶¶11-13.] In short, AG’s declarations fail to
 15   successfully controvert MACOM’s jurisdictional allegations.
 16   B.    The Court Has Subject Matter Jurisdiction Over MACOM’s Claims
 17         1.     The Court Has Subject Matter Jurisdiction Over MACOM’s
                   Contract Claims
 18
            AG’s sole argument on subject matter jurisdiction for MACOM’s contract
 19
      claims is that there is no case or controversy because it was not a signatory to the
 20
      contracts at issue. But, as set forth above, contract claims may be enforced against
 21
      non-signatory parent companies if there is an alter ego or agency relationship.
 22
      Arthur Andersen LLP v. Carlisle, 556 U.S. 624, 631, 129 S. Ct. 1896, 1902 (2009)
 23
      (“[T]raditional principles of state law allow a contract to be enforced by or against
 24
      nonparties to the contract through … piercing the corporate veil [and] alter ego....”);
 25
      Herring, 2016 WL 4055636, at *15 (declining to dismiss contract claims against
 26
      parent). None of the cases cited by AG (Mot. at 12) involve this fact pattern. AG’s
 27
      motion to dismiss contract claims for lack of subject matter jurisdiction thus fails.
 28

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              2.    The Court Has Subject Matter Jurisdiction Over MACOM’s
  1                 Declaratory Judgment Claim
  2           AG argues that the Court lacks subject matter jurisdiction over the
  3   declaratory judgment patent claim because AG does not own the patents at issue.
  4   But, as set forth above, AG has held itself out as their owner. Moreover, the
  5   situation is muddied by the fact that PTO records still reflect that IR owns some of
  6   the patents, although both Infineon entities insist that IR no longer exists as an
  7   entity. [Dkt. 44-2 at 1; Dkt. 92-3 ¶¶4-6.] Even assuming that AG does not directly
  8   own any of the Nitronex Patents, MACOM has sufficiently alleged agency and alter
  9   ego—effectively meaning that Americas’ alleged formal ownership can be
 10   attributed to AG. Thus, the Court has subject matter jurisdiction over this claim. 12
 11   C.      MACOM Has Adequately Stated A Claim Of Intentional Interference
 12           MACOM’s Eighth (and final) Claim for Relief against AG is for intentional
 13   interference with contractual relations. [FAC ¶¶233-245.] MACOM properly
 14   brought this claim in the alternative, to apply if AG is found not to be a party to or
 15   bound by the relevant agreements. [Id. ¶235 n3.] See Fed. R. Civ. P. 8(a)(3)
 16   (pleading “may include relief in the alternative”).
 17           AG does not deny in its motion to dismiss that it interfered with MACOM’s
 18   contracts. Nor does it deny the general rule that intentional interference claims are
 19   recognized against a parent when it interferes with a subsidiary’s contracts. Culcal
 20   Stylco, Inc. v. Vornado, Inc., 26 Cal. App. 3d 879, 883 (Ct. App. 1972) (reversing
 21   dismissal of tortious interference claim against parent). Instead, AG does a
 22   complete about-face on its earlier arguments. Despite its prior and adamant denials
 23   of an agency (or alter ego) relationship, AG now argues that MACOM’s Eighth
 24   Claim for Relief must be dismissed because AG is permitted by law to interfere
 25   with its subsidiary’s contracts under the manager’s privilege, which is designed to
 26
 27   12
           AG incorporates unspecified arguments from Americas’ motion to dismiss, so
           MACOM incorporates here its response to those arguments.
 28

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  1   protect agent/fiduciary relationships. AG cannot have it both ways, asking the
  2   Court to dismiss the first seven claims because there is not an agency relationship
  3   and the eighth claim because there is an agency relationship. Nor is AG’s claim
  4   that it was acting as an agent of Americas (its subsidiary) credible. That is entirely
  5   counterintuitive. Parents generally control their subsidiaries, not the converse.
  6         In any event, as discussed in greater detail below, both the manager’s
  7   privilege and the financial interest privilege require a factual evaluation of intent,
  8   making them an inappropriate basis for dismissal here.
  9         1.     The Manager’s Privilege Does Not Apply To AG
 10         The so-called “manager’s privilege” does not apply here. “Under California

 11   law, the manager’s privilege acts primarily as a shield to protect a manager from

 12   individual liability to third parties for certain torts.” Farris v. Int’l Paper Co., No.

 13   5:13-cv-485, 2014 WL 3657051, at *7 (C.D. Cal. July 21, 2014). 13 The “manager’s

 14   privilege” exists to protect the confidential fiduciary-principal relationship, not the

 15   parent-subsidiary relationship. See Los Angeles Airways, Inc. v. Davis, 687 F.2d

 16   321, 325 (9th Cir. 1982) (“LA Airways”); 2 Cal. Affirmative Def. § 41:19 (2d ed.)

 17   (“Unlike the corporate manager who enjoys a privilege, corporations owning

 18   subsidiaries ... do not have an absolute privilege to interfere with contracts of their

 19   subsidiary.”). 14 The manager’s privilege is also a qualified privilege that is lost if a

 20   corporate manager acts with improper intent. LA Airways, 687 F.2d at 325.

 21
 22   13
         AG confuses the manager’s privilege with the financial interest privilege by
         citing a string of nonbinding cases from other jurisdictions that make no
 23      reference to the manager’s privilege. See Mot. at 22-23.
      14
 24      The nonbinding case cited by AG, Harrison Ventures, LLC v. Alta Mira
         Treatment Ctr., LLC, No. 10-cv-188, 2010 WL 1929566, at *6 (N.D. Cal. May
 25      12, 2010), is inapposite because the complaint there had actually alleged that the
         defendants “made a business decision” to terminate the contract. More recent
 26      Northern District decisions have recognized both that “motive matters” and the
         privilege is not absolute. See Canard v. Bricker, No. 14-CV-04986-JSC, 2015
 27      WL 846997, at *4 (N.D. Cal. Feb. 25, 2015) (denying motion to dismiss where
         plaintiff alleged that actions were taken “with improper motive”).
 28

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  1   Determining intent is fact-intensive. Even summary judgment cannot be used to
  2   resolve a dispute regarding intent, let alone a motion to dismiss. Id.; Calero v.
  3   Unisys Corp., 271 F. Supp. 2d 1172, 1180 (N.D. Cal. 2003).
  4           MACOM has not brought suit against an individual who is “acting in his
  5   fiduciary capacity as agent, officer or director” of Americas. LA Airways, 687 F.2d
  6   at 326; Schick v. Lerner, 193 Cal. App. 3d 1321, 1329 (Cal. Ct. App. 1987) (claim
  7   brought against attorney individually). For that reason alone, the manager’s
  8   privilege simply does not apply. Moreover, MACOM repeatedly alleges that AG
  9   acted wrongfully and with an improper motive, based on a plethora of facts set forth
 10   in the Complaint. [FAC ¶148 (“Infineon’s purported termination was without basis
 11   or cause, was done in bad faith, and was pretextual. Its purpose was to attempt to
 12   wrongfully harm MACOM ...”); ¶237(“after it acquired [IR,] AG embarked on an
 13   intentional and wrongful course of conduct to interfere with and disrupt Americas’
 14   performance of the 2010 IP Purchase and License Agreements”); ¶238. 15 Thus,
 15   even if the manager’s privilege could apply to AG, there is a disputed issue of
 16   fact—AG’s intent—that precludes dismissal.
 17           2.    The Financial Interest Privilege Does Not Apply To AG
 18           AG’s “financial interest privilege” argument also fails. “One who, having a
 19   financial interest in the business of a third person intentionally causes that person
 20   not to enter into a prospective contractual relation with another, does not interfere
 21   improperly with the other’s relation only if he (a) does not employ wrongful means
 22   and (b) acts to protect his interest from being prejudiced by the relation.” Culcal,
 23   26 Cal. App. 3d at 882; see also Twin City Fire Ins. Co. v. Mitsubishi, No. 04-cv-
 24   43, 2006 WL 5164189, at *21 (C.D. Cal. Aug. 15, 2006).
 25   15
           AG also accuses MACOM of relying on “conclusory legal conclusions.” In
 26        support, AG cites to a single paragraph of MACOM’s Complaint (¶238). But
           AG cannot simply cherry-pick one paragraph out of 245 and argue that
 27        MACOM’s claim is defeated based solely on that paragraph. Dozens of other
           paragraphs provide additional facts. [See, e.g., FAC ¶¶ 141-154, 233-245.]
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  1         Because both elements turn on a defendant’s intent, courts call the financial
  2   interest privilege a “state-of-mind privilege” and are reluctant to decide the issue on
  3   pleadings. Culcal, 26 Cal. App. 3d at 883; GHK Assocs. v. Mayer Grp., Inc., 224
  4   Cal. App. 3d 856, 883 (Ct. App. 1990) (“[T]he question on the issue of privilege is
  5   a question for the trier of fact.”). The only situation where a motion to dismiss may
  6   be granted on the financial interest privilege is if the privilege’s applicability is
  7   evident from the “allegations contained [in the] complaint.” Stonebrae, L.P. v. Toll
  8   Bros., No. 08-cv-221, 2008 WL 2157000, at *6 (N.D. Cal. May 21, 2008).
  9         Here, it is not possible to conclude that the financial interest privilege applies
 10   based on MACOM’s Complaint, so dismissal is not permitted. MACOM alleges
 11   that AG employed wrongful means and did not act for any proper purpose. [E.g.,
 12   FAC ¶¶148, 237, 238.] Going further, MACOM alleged detailed facts supporting
 13   its allegations, something not required by the case law. [FAC ¶¶18-37,124-29,141-
 14   147]; Culcal, 26 Cal. App. 3d at 883 (reversing dismissal even in the face of
 15   “conclusionary allegations” that defendant acted without justification). Unlike
 16   Stonebrae, where application of the privilege followed from the express allegation
 17   that the parent took actions “in light of [its] deteriorating financial condition,” it
 18   cannot be said that the facts averred here show justification or privilege as a matter
 19   of law. 2008 WL 2157000, at *5. AG’s arguments should therefore be rejected.
 20   D.    Alternative Request for Jurisdictional Discovery
 21         AG’s motion should be denied outright. If the Court is reluctant to do so or
 22   believes that MACOM has not sufficiently pleaded jurisdiction, however, MACOM
 23   respectfully requests that the Court order jurisdictional discovery to allow MACOM
 24   to present specific additional facts that support jurisdiction. E.g., Boschetto v.
 25   Hansing, 539 F.3d 1011, 1020 (9th Cir. 2008) (discovery “may be appropriately
 26   granted where pertinent facts bearing on the question of jurisdiction are
 27   controverted or where a more satisfactory showing of the facts is necessary”).
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